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                 UNITED STATES DISTRICT COURT

                 SOUTHERN DISTRICT OF GEORGIA

                            SAVANNAH DIVISION


DEMETRIUS MARCELLUS GREEN,

       Movant,

v.                                           Case No.     CV412-070
                                                          CR408-315
UNITED STATES OF AMERtCA,

       Respondent.




                  REPORT AND RECOMMENDATION

       Demetrius Marcel1u Green, who pled guilty to a drug distribution

conspiracy charge, moves for 28 U.S.C. § 2255 relief. (Doe. 1.') For the

following reasons, his motion should be DENIED.

I. BACKGROUND

       In 2008, Green was one of 45 defendants indicted in a drug

conspiracy involving large quantities of crack and powder cocaine, as

well as marijuana. (Presentence Investigation Report ("PSI") at 10 ¶ 1.)

       1 Unless otherwise notd, citations are to the docket in movant's civil case,
CV412-070. "Cr. doc." refers to documents filed under movant's criminal case,
CR408-315.
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During the pre-indictment investigation, wiretaps and confidential

sources revealed that Green was associated with Jamerson Vashon

Smalls' cocaine distribution empire. Smalls supplied cocaine to many

local dealers. One of his associates, Telly Petty, sold multiple quantities

of cocaine to Green, who then distributed the drugs to others. (Id. at
11-13 ¶T 7-15.) Green was arrested on August 29, 2008, while

attempting to purchase eleven ounces of crack and powder cocaine from

Petty, who was at that time cooperating with the authorities. (Id. at 13

¶ 14.) He had brought $13,750 in cash for the exchange. (Id.)

     The indictment was entered on November 11, 2008. A few months

later, Green, represented by attorney Dale E. Akins, pled guilty to

conspiracy to distribute, and to possession with intent to distribute, an

unspecified quantity of cocaine. (Cr. doc. 534.) In exchange, the

remaining charges against him were dismissed. (Cr. doc. 917 (plea

agreement); cr. doc. 935 (judgment).) Prior to sentencing, a United

States Probation Officer prepared a PSI, which relied largely upon Telly

Petty's assessment that he had sold Green at least two kilograms of
powder cocaine and three                of crack cocaine over the course of


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the criminal enterprise. (PSI at 13 ¶ 17.) Under United States

Sentencing Guideline ("USSG") § 2D1.1, those quantities resulted in a
base offense level of 38, but that number was reduced by two points

under the relevant application notes because the case involved crack

cocaine in combination with other controlled substances. (PSI at 15 ¶

24.) After an additional three point reduction for acceptance of

responsibility (id. at ¶ 30), his total offense level was calculated at 33

points. (Id. at ¶ 33.) Combined with his criminal history category of

VI, the Guidelines range for imprisonment was 188 to 235 months. 2 (Id.

at 24 ¶70.)

      At sentencing, Akins called several witnesses, including Telly

Petty, in order to undermine the drug quantity calculations. (Cr. doc.
1158 (sentencing tr.) at 6-53; id. at 55-56.) Petty gave a slightly more

conservative estimate as to the total number of transactions and amount

of cocaine changing hands, (id. at 25-29), but the Court was not

persuaded. Nevertheless, the judge sentenced Green toward the lower


      2 Had the government filed a 21 U.S.C. § 851 information on the basis of

Green's prior felony drug convictions, he would have faced a mandatory term of life
imprisonment. (PSI at 24 ¶ 71.)

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end of the range, imposing 194 months' imprisonment. (Cr. doe. 935.)

Green appealed with new counsel, Amy Weil, who argued that the

district judge "clearly erred in determining the drug quantity for which

he was held accountable for purposes of calculating his base offense level

under U.S.S.G. § 2111.1." United States v. Green, 405 F. App'x 402,402

(11th Cir. 2010). Specifióally, she argued that the judge erred by relying

on the PSI estimates over Telly Petty's sworn testimony at sentencing.
Id. The appellate panel, found no reversible error, since "even if the

district court used the most conservative figures from Petty's testimony,

Green's base offense level would have remained the same." 3 Id. at 403.

Thereafter, Green filed the instant motion for 28 U.S.C. § 2255 relief.

      3 During an interview with agents, Petty stated that he sold Green four to five
ounces of powder and six to eight ounces of crack on at least 20 occasions, for a total
of two kilograms of powder and three kilograms of crack cocaine. (PSI at 13 ¶ 17.)
At sentencing, however, he testified that he sold Green between seven and eleven
ounces of crack and powder cocaine at a time, rather than ten to thirteen. (Cr. doc.
1158 at 31.) He still insisted that Green purchased primarily crack and had
engaged in "roughly 20" transactions with his own money; several other times he
approached with his cousin Travian Green. (Id. at 32.)

      Using the lowest estimate, seven ounces and twenty transactions, Green still
purchased approximately 3.96 kilograms of cocaine. The Court will presume for this
hypothetical that only 50.1% was crack cocaine. Green, then, purchased
approximately 1.98 kilograms of crack and 1.97 kilograms of powder cocaine over the
course of the criminal enterprise. Converting those to their marijuana equivalents
under USSG § 2D1.1, Green should be held accountable for 39,660 kilograms of
marijuana for the crack cocaine (one gram is equivalent to twenty kilograms) and 395
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II. ANALYSIS

      Green claims that: (1) the district judge erred in failing to conduct a

"sufficiently searching inquiry" to resolve discrepancies in drug quantity

estimates relied upon at sentencing; (2) counsel rendered deficient

performance by failing to object to the district judge's drug quantity

inquiry; and (3) counsel rendered deficient performance by failing to

request access to his co-conspirator's PSI. (Doc. 1 at 4-7; 14.)

      A. Grounds 1 &'2

      In Ground 1 Green is attempting to relitigate a matter already

decided against him by the appellate court. As explained above, he

argued on appeal that the district judge erred by relying upon Petty's

estimates related in the PSI rather than the modified estimate he

provided at sentencing. Green, 405 F. App'x at 402. Now, he contends

that the sentencing judge erred by failing to require Petty to explain the

discrepancy between his two estimates. (Doc. 1 at 20-24.) Ground 1 is


kilograms of marijuana for the powder cocaine (one gram is equivalent to 200 grams).
In total, then, he would be sentenced based upon 40,055 kilograms of marijuana.
Pursuant to the USSG § 2D1.1(c)(1) sentencing table, any drug offense involving
more than 30,000 kilograms of marijuana has a base offense level of 38, precisely the
same level stated in Petty's heightened PSI estimate.

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a repackaged claim that should be dismissed out-of-hand, since a claim

rejected by the appellate court does not merit rehearing on a different

but previously available legal theory. United States v. Nyhuis, 211 F.3d

1340, 1343 (11th Cir. 2000). Moreover, absent some constitutional,

jurisdictional, or fundamental error, sentencing claims are not

cognizable in a § 2255 motion. See, e.g., Ayuso v. United States, 361 F.

App'x. 988, 991-92 (11th Cir. 2010) ( 2255 movant's claim that the

calculation of his criminal points under the guidelines was no longer

correct because one of his state convictions was vacated after he was

sentenced did not constitute a constitutional error and did not "implicate[

] a fundamental defect in the validity of the district court proceedings" so

as to rise to the level of a "miscarriage of justice."); Vallas v. United

States, 2012 WL 2681398 at * 5 (S.D. Ala. Jun. 7, 2012).

     Even if the claim survived those hurdles (i.e., it was not merely

repackaged and it implicated constitutional concerns), it would be

procedurally defaulted since Green did not raise it on direct appeal. A §

2255 movant may not use a collateral attack as a "surrogate" for a direct

appeal. Lynn v. United States, 365 F.3d 1225, 1232 (11th Cir. 2004); see


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Stone v. Powell, 428 U.s. 465, 478 n.10 (1976) (28 U.S.C. § 2255 will not

be allowed to do service for an appeal). The courts have crafted the

procedural default rule to address such situations: "a [movant] generally

must advance an available challenge to a criminal conviction or sentence

on direct appeal or else he is barred from presenting the claim in a § 2255

proceeding." Lynn, 365 E.3d at 1234; Hill v. United States, 317 F. App'x

910, 913-14 (11th Cir. 2009). There is an exception, however, if Green

could establish cause and prejudice excusing his default (or establish his

actual innocence). Lynn, 365 F.3d at 1234 (citing Bousley v. United

States, 523 U.S. 614, 622 (1998)); Nyhuis, 211 F.3d at 1343. Green

invokes the exception by arguing that the claim was not raised due to his

appellate attorney's ineffectiveness. (Doc. 1 at 4.)

      While "constitutionally '[i] neffective assistance of counsel . . . is

cause" for excusing a procedural default, McCleskey v. Zant, 499 U.S.

467, 494 (1991) (citations omitted), Green has utterly failed to support



         Green's ineffective assistance of counsel claims are not subject to the
procedural default rule and thus "may be brought in a collateral proceeding under §
2255, whether or not the petitioner could have raised the claim[s] on direct appeal."
Massaro v. United States, 538 U.S. 500, 504 (2003).

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his assertion that Weil performed deficiently on appeal. 5 As such, it is

conclusory and hence insufficient for present purposes. See Caderno v.

United States, 256 F.3d 1213, 1217 (11th Cir. 2001) (citing Tejada v.

Dugger, 941 F.2d 1551, 1559 (11th Cir. 1991)) (no hearing, much less §

2255 relief, based upon self-serving and conclusory claims); Holmes v.

United States, 876 F.2d 1545, 1553 (11th Cir. 1989) (no hearing required
       5 In evaluating such a claim, the Court applies Strickland v. Washington, 466
U.S. 668, 687 (1984), which created a two-part test for determining whether counsel
performed ineffectively. First, the movant must demonstrate that his attorney's
performance was deficient, which requires a showing that "counsel made errors so
serious that counsel was not . functioning as the 'counsel' guaranteed by the Sixth
Amendment." 484 U.S. at 687. Second, the defective performance must have
prejudiced the defense to such a degree that the results of the trial cannot be trusted.
Id.

       Under the performance prong, the reasonableness of an attorney's
performance is to be evaluated from counsel's perspective at the time of the alleged
error and in light of all the circumstances. Id. at 690. It is generally appropriate to
look to counsel's performance throughout the case in making such a determination.
Kimmelman v. Morrison, 477 U.S. 365, 386 (1986). The movant carries a heavy
burden, as "reviewing courts must indulge a strong presumption that counsel's
conduct falls within the wide range of professional assistance; that is, the defendant
must overcome the presumption that, under the circumstances, the challenged action
might be considered sound trial strategy." Id. at 689. Indeed, Green must show
that "no competent counsel would have taken the action that his counsel did take."
Ford v. Hall, 546 F.3d 1326, 1333 (11th Cir. 2008), quoting Chandler v. United
States, 218 F.3d 1305, 1315 (11th Cir. 2000) (en banc).

       For the prejudice prong be must show that there was a reasonable probability
that the results would have been different but for counsel's deficient performance.
Kimmelman, 477 U.S. at 375; Strickland, 466 U.S. at 696. "A reasonable probability
is a probability sufficient to undermine confidence in the outcome." Strickland, 466
U.S. at 694; see also Lightbourne v. Dugger, 829 F.2d 1012, 1022 (11th Cir. 1987);
Boykins v. Wainwright, 737 F.2d 1539, 1542 (11th Cir. 1983).

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on claims "which are based on unsupported generalizations"); Rodriguez

v. United States, 473 1F.2d 1042, 1043 (5th Cir. 1973) (no hearing

required where petitioner alleged no facts to establish truth of his claims

beyond bare conclusory allegations).

     In any event, Green has not come forward with any compelling

legal basis for challenging Petty's estimates that either attorney

overlooked. While he insists that the district judge should have

performed a more searching inquiry, his supporting cases, all of which

originate in other circuits, are readily distinguishable. All three of the

cases involved wild swings in drug quantity estimates, and two involved

estimates made by admitted drug addicts. See United States v. Beler, 20

F.3d 1428, 1433-35 (7th Cir. 1994) (two estimates from one affiant

presented at sentencing varied by a factor of ten and conflicted with the

affiant's trial testimony, where he insisted he could not remember the

amounts at issue; the affiant also did not testify at sentencing); United

States v. McEntire, 153 F.8d 424, 434-37 (7th Cir. 1998) (very similar fact

pattern); United States v. Brothers, 75 F.3d 845, 849-50 (3d Cir. 1996)

(wild swing, but there was no indication that the person making the


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estimate was a drug dealer). Presented here, in contrast, is a relatively

minor discrepancy that had absolutely no impact upon Green's

sentencing exposure. See supra note 3 (calculating Green's exposure

under the most favorable of Petty's assessments). Hence a trial or

appellate-level objection relying upon Green's authority was unlikely to

succeed.6

     Green also claims that the quantity would have dropped

substantially if Akins had introduced every phone call between him and

Petty at the sentencing hearing. (Doc. 1 at 25.) He has not supported

this with any citations to the record or other evidence, and United States

Probation Officer Marty Bragg, who prepared the PSI, testified that

Petty's estimate was consistent with the intercepted phone calls. (Cr.

doc. 1158 at 7.) In sum, Green has not shown deficient performance on

these facts as to either attorney.

      Moreover, he failed to show any resulting prejudice. While he

insists that he purchased less than seven to ten ounces at a time from

      6 Both attempted to undermine Petty's estimates. Akins objected to the PSI,
and called several witnesses, including Petty. He successfully obtained an
admission from Petty that he did not have a perfect recollection of how much he sold
to Green. (Cr. doe. 1158 at 37-38.) Weil did what she could by highlighting the
discrepancy on appeal. Green, 405 F. App'x at 402-3.
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Petty, nothing he has presented here shows that he purchased less than

the minimum amount necessary to obtain a base offense level of 38

(lowered by operation of the Guidelines to 36). 7 In other words, there is

no reasonable probability , that the district judge, upon a more searching

inquiry, would have materially altered his decision. Grounds 1 and 2
thus fail.

      B. Ground 3

      Green's final claim for relief contends that Akins was ineffective for

failing to request access to Petty's PSI. (Doe. 1 at 26-27.) Those

reports are presumed to be confidential; hence their disclosure is


         Green has not suggested what the appropriate sentencing range would be.
Presumptively, he wants another stab at convincing the sentencing judge that he
bought no more than a kilogram of cocaine. (Cr. doc. 1158 at 41-43.) He testified at
sentencing that he made the purchases over multiple transactions averaging about
three ounces, and he had only worked with his cousin, Travian Green, four or five of
those times. (Cr. doc. 1158 at 41-43.) But the judge had every reason to disbelieve
him. After all, Travian testified that they made between eight and ten joint
purchases from Petty. (Cr. cloc. 1158 at 22.) And though Travian never saw the
cash or cocaine, she could feel the weight and estimated he purchased about eight
ounces of some mixture of crack and powder cocaine, rather than the three ounces he
reported. (Id. at 17-20, 22.) The weight estimate coincides perfectly with Petty's
sentencing testimony that he sold him between seven and eleven ounces at a time.
(Id. at 31.) During an intercepted call, Green asked Petty for eleven ounces total,
eight of which were crack. (Id. at 33.) But he insisted that it was a quantity he was
going to split with Travian. (Id. at 43-44.) Regardless, Green has not given the
Court any reason to believe that the district judge erred in his preponderance of the
evidence drug quantity finding or that any such error was harmful.

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disfavored absent a heightened showing of particularized need. See

United States v. Gomez, 23 F.3d 1305, 1308 (11th Cir. 2003). Green

states that "he believe [s] the report contains information that could be

used to impeach" Petty, but his supposition is not enough. Since he has

not posited any special or compelling need for the PSI, a motion by Akins

for its disclosure would have failed. He has also failed to offer any facts

or argument suggesting that the PSI contained useful information that

might have made any difference at sentencing. Consequently, he

cannot show that Akins' failure to obtain it was in any way prejudicial.

Green's Ground 3 ineffectiveness claim is without merit.

III. CONCLUSION

     For the foregoing reasons, Green's § 2255 motion (doc. 1) should be

DENIED. Applying the Certificate of Appealability ("COA") standards,

which are set forth in Brown v. United States, 2009 WL 307872 at * 1-2

(S.D. Ga. Feb. 9, 2009) (unpublished), the Court discerns no COA-worthy

issues at this stage of the litigation, so no COA should issue. 28 U.S.C. §

2253(c)(1); see Alexander v. Johnson, 211 F.3d 895, 898 (5th Cir. 2000)

(approving sua sponte denial of COA before movant filed a notice of


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appeal). And since there are no non-frivolous issues to raise on appeal,

an appeal would not be taken in good faith. Thus, in forma pauperis

status on appeal should likewise be DENIED. 28 U.S.C. § 1915(a)(3).

     SO REPORTED AND RECOMMENDED this                      27 day of
September, 2012.

                                         UNITED STATES MAGISTRATE JUDGE
                                         SOUTHERN DISTRICT OF GEORGIA




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